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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED STATES OF AMERICA

Vv. CASE NO.: 2:25-cr-5-TPB-KCD
MADELYN HERNANDEZ

APPEARANCE BOND &
ORDER SETTING CONDITIONS OF RELEASE

To reasonably assure the appearance of Defendant Madelyn Hernandez
and the safety of other persons and the community, the Court hereby
ORDERS that Defendant’s release is subject to this BOND and the
CONDITIONS set forth herein. Defendant and each surety jointly and
severally agree to forfeit the following cash or other property specified below
to the United States of America if defendant fails to appear as required for any
court proceeding, fails to surrender to serve any sentence imposed as may be
noticed or ordered by any court, or fails to comply with any condition of release
set by the Court.

Type of Bond / Financial Conditions
This is an unsecured bond in the amount of $100,000.00
L] This is a secured bond in the amount of $, secured by:
O $__.00, in cash deposited with the Court.
Oi the agreement of the defendant and each surety to forfeit the
following cash or other property (describe the case or other

property, including claims on it — such as a lien, mortgage, or loan
—and attach proof of ownership and value):

If this bond is secured by real property, documents to protect the
secured interest may be filed of record.

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Forfeiture or Release of the Bond

Forfeiture of the Bond. This bond may be forfeited if Defendant does not
comply with the conditions set forth herein. The Court may immediately
order the amount of the bond surrendered to the United States, including the
security for the bond, if Defendant does not comply with any condition set forth
herein. At the request of the United States, the Court may order a judgment
of forfeiture against Defendant and each surety for the entire amount of the
bond, including interest and costs.

Release of the Bond. The Court may order this bond ended at any time. This
bond will be satisfied and the security will be released when either: (1)
Defendant is found not guilty on all charges; or (2) Defendant reports to serve
a sentence.

Declarations

Ownership of the Property. 1, Defendant — and each surety — declare under
penalty of perjury that:

(1) all owners of the property securing this bond are included on
the bond;

(2) the property is not subject to any claims, liens, mortgages,
or other encumbrance except as described above; and

(3) I will not sell the property, allow further claims to be made
against it, or do anything to reduce its value while this bond
is 1n effect.

Acceptance. I, Defendant — and each surety — have read this bond and have

either read all of the conditions of release set by the Court or had them
explained tome. I agree to this bond.

I, Defendant — and each surety — declare under penalty,of perjury that this
information is true. See 28 U.S.C. § 1746. Ly 9EE~
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Surety/ Property Owner (printed name) Surety/ Property Owner (signature) Date
Surety/ Property Owner (printed name) Surety/Property Owner (signature) Date

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Surety/ Property Owner (printed name) Surety/Property Owner (signature) Date

Surety/ Property Owner (printed name) Surety/Property Owner (signature) Date

Standard Conditions of Release

IT IS ORDERED that Defendant’s release is subject to the following standard

conditions:

(1) Defendant must not commit any offense in violation of federal, state, or
local law while on release.

(2) Defendant must cooperate in the collection of a DNA sample if it is
authorized by 42 U.S.C. § 14135a.

(3) Defendant must immediately advise the Court, the Pretrial Services
Office (or the supervising officer), defense counsel, and the U.S. Attorney
in writing of any change in address and telephone number.

(4) Defendant must appear at all proceedings as required and must

surrender for service of any sentence imposed as directed. Defendant
must next appear in the United States Courthouse and Federal Building
or other location in the Courtroom directed upon notice.

Additional Conditions of Release

IT IS FURTHER ORDERED that Defendant’s release is subject to the
condition(s) marked below:

Defendant is placed in the third-party custody of the third-party
custodian identified below, who agrees to: (a) supervise Defendant;
(b) use every effort to assure Defendant’s appearance at all court
proceedings; and (c) notify the court immediately if Defendant
violates a condition of release or is no longer in the custodian’s

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CusLtoay.

Wilbur Hernandez

Custodian (printed name) Custodian (signature) Date

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Report as directed by the Pretrial Services Office.

Obtain no passport (or other international travel document) and
surrender any existing passport (active or expired) to the Clerk’s Office
no later than 4:00 PM on 1/28/25.

Maintain or actively seek verifiable employment.

O Defendant may not maintain or seek employment in any
position that:

O Defendant must inform any employer of the existence and
nature of the pending charge(s).

1 Continue or start an education program.

[1 Refrain from possessing a firearm, destructive device, or other
dangerous weapon.

UL Refrain from any consumption of alcoholic beverages.

O

Refrain from excessive consumption of alcoholic beverages.

Refrain from any use or unlawful possession of a narcotic drug or other
controlled substance in 21 U.S.C. § 802, unless with prior written
approval of the Pretrial Services Office or the supervising officer, or as
may be lawfully prescribed in writing by a licensed medical practitioner.

1 Report as soon as possible to the Pretrial Services Office any contact
with law enforcement personnel, including, but not limited to, any
arrest, questioning, or traffic stop.

LU Abide by the following restriction(s) on personal association:
Defendant must not have contact, directly or indirectly, with
Abide by the following restriction(s) on residence:
Defendant’s residence is restricted to

Notwithstanding this restriction, the Pretrial Services Office or the
supervising officer may permit Defendant to change his or her residence
temporarily in response to a genuine emergency (including, but not
limited to, any condition that may threaten the defendant’s life, health,
or safety) until such time as an appropriate motion seeking to modify
this residential restriction can be filed with and resolved by the Court.
Abide by the following restriction(s) on travel:
Defendant’s travel is restricted to the Middle District of Florida and the
District of New Jersey.
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Defendant may also visit defendant’s attorney if outside this area, but
only after providing notification to the Pretrial Services Office or the
supervising officer. All other travel must be approved by the Pretrial
Services Office or the supervising officer. Any request to travel outside
the area set forth above must be submitted in writing and approved by
the Pretrial Services Office or the supervising officer at least three (3)
days before the date on which travel is to commence. A courtesy copy
of this written request must also be submitted to the Assistant United
States Attorney assigned to this case.

The Middle District of Florida consists of the following Florida counties:
Baker, Bradford, Brevard, Charlotte, Citrus, Clay, Collier, Columbia,
DeSoto, Duval, Flagler, Glades, Hamilton, Hardee, Hendry, Hernando,
Hillsborough, Lake, Lee, Marion, Manatee, Nassau, Orange, Osceola,
Pasco, Pinellas, Polk, Putnam, Sarasota, St. Johns, Seminole, Sumter,
Suwannee, Union, and Volusia. The Ft. Myers Division consists of the
following Florida counties: Charlotte, Collier, DeSoto, Glades,
Hendry, and Lee.

Continue medication management and therapy as recommended by
your psychiatrist.

1 Submit to a mental health evaluation and/or treatment to include crisis
counseling, psychiatric treatment, and/or medication management
treatment as determined by the Pretrial Services Office.

Ul Participate in a program of inpatient or outpatient substance abuse
testing, education, or treatment if deemed advisable by the Pretrial
Services Office and pay a percentage of the fee as determined by the
Pretrial Services Office.

Submit to any method of testing required by the Pretrial Services Office
or the supervising officer for determining whether the defendant is
using a prohibited substance. Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a
remote alcohol testing system, and/or any form of prohibited substance
screening or testing and pay a percentage of the fee as determined by
the Pretrial Services Office. Defendant must refrain from obstructing
or attempting to obstruct or tamper, in any fashion, with the efficiency
and accuracy of any prohibited substance testing.

Ll Participate in the following location restriction program and comply
with its requirements as directed, which may include electronic
monitoring or location monitoring.
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O Curfew: You are restricted to your residence every day as
follows. “Your residence” means the interior (i.e., within the
walls) of your house, condominium, or apartment.

O from to > or

O_ as directed by the Pretrial Services Office or the supervising
officer.

O Home Detention: You are restricted to your residence at all
times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney
visits; court appearances; court-ordered obligations; or other
activities as pre-approved by the Pretrial Services Office. “Your
residence” means the interior (i.e., within the walls) of your house,
condominium, or apartment.

O Home Incarceration: You are restricted to 24-hour-a-day lock-
down at your residence except for medical necessities and court
appearances or other activities specifically approved by the court.
“Your residence” means the interior (i.e., within the walls) of your
house, condominium, or apartment. Visits to your attorney or to
the United States Attorney’s Office outside of your residence
require court approval.

O Stand-Alone Monitoring: You have no residential curfew,
home detention, or home incarceration restrictions. However, you
must comply with the location or travel restrictions as imposed by

the court. Stand-Alone Monitoring will require electronic
monitoring or location monitoring with global positioning system
(GPS) technology.

LU Submit to electronic monitoring or location monitoring and comply with
its requirements as directed. If Stand-Alone Monitoring is ordered,
the Pretrial Services Office must use a GPS tracking device.
Otherwise, the Pretrial Services Office must determine the use of
appropriate location monitoring technology (e.g., a land line, voice
recognition system, radio frequency system, cellular monitoring unit, or
GPS tracking device). Defendant must refrain from obstructing or
attempting to obstruct or tamper, in any fashion, with the efficiency and
accuracy of any electronic monitoring or location monitoring technology.
Defendant must pay all or part of the cost of the program based upon

Defendant’s ability to pay as determined by the Pretrial Services Office.
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LI Avoid and refrain from any unsupervised contact with minors,
including any verbal, written, telephonic, or electronic communication.

U1 Avoid and refrain from any contact, directly or indirectly, with any
person who is or may be a victim or witness in the investigation or
prosecution, including but not limited to:

LO Avoid and refrain from any contact with any co-defendant(s).

Ol Refrain from visiting any commercial transportation establishments,
including but not limited to: airports; seaports; marinas; commercial
bus terminals; train stations; etc. Defendant may not obtain any
travel documents from any such establishments.

LU Defendant must not have any computer or internet access. This
includes any cellular telephone, smart phone, tablet, gaming console, or
any other device that has or is capable of internet access.

Other condition(s): Do not apply for any new lines of credit or loans.

ADVICE OF PENALTIES AND SANCTIONS
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the
immediate issuance of a warrant for your arrest, a revocation of your release,
an order of detention, a forfeiture of any bond, and a prosecution for contempt
of court and could result in imprisonment, a fine, or both.

If you commit a federal felony offense while on release, the punishment
is an additional prison term of not more than ten years. For a federal
misdemeanor offense, the punishment is an additional prison term of not more
than one year. This sentence will be consecutive to (i.e., in addition to) any
other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine,
or both, to: obstruct a criminal investigation; tamper with a witness, victim,
or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror,
informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or
attempted killing.
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If, after release, you knowingly fail to appear as the conditions of release
require or to surrender to serve a sentence, you may be prosecuted for failing
to appear or surrender and additional punishment may be imposed. If you
are convicted of:

(1) an offense punishable by death, life imprisonment, or
imprisonment for a term of fifteen years or more — you will be
fined not more than $250,000 or imprisoned for not more than 10
years, or both;

(2) an offense punishable by imprisonment for a term of five years or
more, but less than fifteen years — you will be fined not more than
$250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or
imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or
imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will
be consecutive to any other sentence you receive. In addition, a failure to
appear or surrender may result in the forfeiture of any bond posted.

Acknowledgments

I acknowledge that I am the defendant in this case, a surety, or a
custodian and that I am aware of the conditions of release. I, the defendant,
promise to obey all conditions of release, to appear as directed, and to
surrender to serve any sentence imposed. I — the defendant, surety, or
custodian — am aware of the penalties and sanctions set forth above. I swear
under penalty of perjury that the above information is true as it relates to me,
and I agree to the conditions set forth herein. I aJso stgte that I have either

read all of the conditions of release imposed on t efefidant or they have been
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explained to me.

Date: C

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Surety (printed name) Surety (signature) Date
Surety / Custodian (printed name) Surety / Custodian (signature) Date
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Surety / Custodian (printed name) Surety / Custodian (signature) Date

Directions to the United States Marshal

The defendant is ORDERED released after processing.

1 The United States Marshal is ORDERED to keep the defendant in
custody until notified by the Clerk or Judicial Officer that the defendant
has posted bond and/or complied with all other conditions for release. If
still in custody, the defendant must be produced before the appropriate

judicial officer at the time and place specified.
Date: I yas VEyZae

" Kyle C. Dudek
United States Magistrate Judge

